                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE

  UNITED STATES OF AMERICA                       )
       Plaintiff,                                )
                                                 )
            v.                                   )         Case No. 3:08-cr-175
                                                 )         JUDGES PHILLIPS/SHIRLEY
  CLARK ALAN ROBERTS, and                        )
  SEAN EDWARD HOWLEY,                            )
       Defendants.                               )

         RESPONSE IN OPPOSITION TO MOTION FOR PROTECTIVE ORDER [Doc. 98]

            Comes the defendant, CLARK ALAN ROBERTS, by and through counsel and pursuant

  to U.S. Const. amend. V and VI, 28 U.S.C. § 2072(b), 18 U.S.C. § 1835, and Fed. R. Crim. P.

  26, and herein responds in opposition to the government’s motion for a protective order

  concerning the jury trial of this case. [Doc. 98].

  I.        THE GOVERNMENT’S MOTION IS UNTIMELY AND SHOULD BE DENIED.

            A motion for leave to file a motion out of time did not accompany the government’s

  motion, and nowhere in the government’s motion is any good cause or reason stated for the

  eleventh hour filing of its motion for a protective order. The issues concerning the way to

  conduct the jury trial in an alleged theft of trade secrets case, and whether any restrictions at all

  should apply under 18 U.S.C. § 1835, are certainly not matters that have recently come to the

  government’s attention. Given the issues of first impression surrounding the government’s

  proposed restrictions on a public criminal jury trial and reliance on § 1835 - a statute that has

  only been addressed in four federal opinions and has never been applied in the context of trial -

  the government should have filed its motion at the outset of the case in order to allow the Court

  and the parties to timely address these issues of first impression concerning the manner and

  conduct of the trial.



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Case 3:08-cr-00175-TWP-CCS Document 102 Filed 02/05/10 Page 1 of 10 PageID #: 603
         This case was originally set for trial on April 29, 2009. See Order on Discovery and

  Scheduling [Doc. 11]. The deadline for filing pretrial motions was originally April 6, 2009. Id.

  at pg. 4. However, due to the government’s position on a protective order concerning discovery,

  as of March 23, 2009, the defendants had still not received any discovery, and as a result the trial

  was continued to July 21, 2009. [Doc. 18]. The parties were eventually able to come to an

  agreement on a protective order as to discovery matters only, and the pretrial motions deadline

  was extended to May 15, 2009. Id. at pg. 3. Once again, the case was continued due to a delay

  in discovery, and the pretrial motions deadline was extended to July 24 for discovery motions

  and August 21 for “all other pretrial motions.” [Doc. 69, pg. 4] (emphasis added). Importantly,

  even though the motions deadline was extended to July 24 and August 21, the Court’s

  Memorandum and Order specifically stated that before any such motions were to be filed even

  by those deadlines, the parties must move for leave to do so. Id. at pg. 4, para. 6. This extension

  of the May 15 motions deadline was to allow the defense additional time to review the additional

  items of discovery once it was provided and raise any additional pretrial motions.

         The government’s filing of its motion for a protective order concerning trial procedures

  was not something dependent on the receipt of information from the defense, unlike the defense

  pretrial motions that were dependent on receipt of discovery from the government. There is no

  reason why the government’s motion for a protective order concerning trial could not have been

  filed by the original motions deadline of April 6, 2009. The government clearly knew of these

  issues concerning 18 U.S.C. § 1835 since the same statute formed the basis for the government’s

  demand back in March of 2009 that the defense enter into a protective order concerning

  discovery materials. However, even giving the government the benefit of the extended pretrial

  motions deadline, the government must have at least filed a motion for leave to file its motion



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Case 3:08-cr-00175-TWP-CCS Document 102 Filed 02/05/10 Page 2 of 10 PageID #: 604
  requesting the protective order it now seeks and the motion itself by no later than August 21,

  2009. The government’s motion was filed some five months out of time, and the government

  has waived any relief it requests in its late-filed motion, both before this Court and on any

  potential interlocutory appeal to the Sixth Circuit under 18 U.S.C. § 1835. See United States v.

  Obiukwu, 17 F.3d 816, 819 (6th Cir.1994) (holding that failure to timely make pretrial motion

  waives the issue and precludes appellate review); United States v. Davis, 809 F.2d 1194, 1208

  (6th Cir.), cert. denied, 483 U.S. 1007 (1987); United States v. Sachs, 801 F.2d 839, 847 (6th Cir.

  1986); United States v. Jones, 766 F.2d 994, 999 (6th Cir.), cert. denied, 474 U.S. 1006 (1985);

  see also United States v. Wheeler, 129 F.3d 1266 (Table), No. 96-6230, 1997 WL 685414 (6th

  Cir. Oct. 29, 1997) (holding that failing to timely raise motions under deadlines set by the district

  court waives the issue for appellate review purposes); see, e.g., United States v. Mullen, 450 F.

  Supp. 2d, 212, 215 n.2 (W.D.N.Y. 2006) (defendant’s motion filed after cut-off denied where

  defendant failed to show good cause).

         What is good for the goose is good for the gander. If the defendant had filed a motion,

  particularly one implicating fundamental constitutional procedures as to the way to conduct the

  jury trial in this case and one potentially involving interlocutory review, some five months out of

  time and without a motion stating some extremely good cause on why the motion was filed so

  late, it is clear that the defendant would have waived the issue before this Court and appellate

  review would be precluded. The government must be held to the same standard.

  II.    THE GOVERNMENT HAS THE BURDEN OF PROVING, PRIOR TO TRIAL,
         THE EXISTENCE OF A TRADE SECRET BEFORE THE COURT MAY
         CONSIDER WHAT, IF ANY, PROTECTIVE MEASURES MAY BE EMPLOYED
         AT TRIAL.

         Even though untimely, if the government’s motion is considered on its merits, it is clear

  that before any restrictions, at all, are placed on the mode and manner of the jury trial in this


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Case 3:08-cr-00175-TWP-CCS Document 102 Filed 02/05/10 Page 3 of 10 PageID #: 605
  case, the government must first establish to this Court prior to trial that the information sought to

  be protected actually is a trade secret. The statute cited by the government in support of its

  motion is 18 U.S.C. § 1835, which states:

         § 1835. Orders to preserve confidentiality
         In any prosecution or other proceeding under this chapter, the court shall enter
         such orders and take such other action as may be necessary and appropriate to
         preserve the confidentiality of trade secrets, consistent with the requirements of
         the Federal Rules of Criminal and Civil Procedure, the Federal Rules of
         Evidence, and all other applicable laws. An interlocutory appeal by the United
         States shall lie from a decision or order of a district court authorizing or directing
         the disclosure of any trade secret.

  (Emphasis added). The statute does not say “alleged trade secrets.” Under the plain language of

  the statute, any protective measures would potentially apply to actual trade secrets, not

  allegations of a trade secret.

         As of this writing, there are no opinions interpreting this statute in the context of a federal

  criminal jury trial. The decisions that exist deal instead with protective orders concerning

  discovery. Importantly, other than the due process requirement of production of exculpatory and

  impeachment information as set forth in Brady v. Maryland, 373 U.S. 83 (1963), and Giglio v.

  United States, 405 U.S. 150 (1972), there is no general constitutional right for a criminal

  defendant to be provided pretrial discovery. Weatherford v. Bursey, 429 U.S. 545, 559 (1977)

  (“There is no general constitutional right to discovery in a criminal case”). Therefore, it is

  noteworthy that the scant authority that does exist concerning § 1835 grapples with restrictions

  on the rule based discovery requirements of Fed. R. Crim. P. 16 in alleged theft of trade secrets

  cases and does not concern the heightened constitutional interests that come with criminal jury

  trials. Nevertheless, even in just the pretrial discovery context, the caselaw interpreting § 1835

  provides that the material at issue must be proven to be a trade secret before any restrictions are

  applied.


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Case 3:08-cr-00175-TWP-CCS Document 102 Filed 02/05/10 Page 4 of 10 PageID #: 606
         Apparently, there are just four federal decisions interpreting the parameters of § 1835.

  See United States v. Fei Ye, 436 F.3d 1117 (9th Cir. 2006); United States v. Hsu, 155 F.3d 189

  (3d Cir. 1998); United States v. Hsu, 185 F.R.D. 192 (E.D. Pa. 1999); United States v. Hsu, 982

  F.Supp. 1022 (E.D. Pa. 1997); see also Chamblee, J. Michael, Validity, Construction, and

  Application of Title I of Economic Espionage Act of 1996, 177 A.L.R. Fed. 609 (2002). These

  four decisions stem from just two prosecutions under the Economic Espionage Act. The Fei Ye

  opinion from the Ninth Circuit involves an interlocutory appeal under § 1835, yet the only

  discussion of the statute is one concerning its interlocutory appeal provision. In Fei Ye, the

  Ninth Circuit held that it did not have jurisdiction, pursuant to the provision of § 1835 allowing

  interlocutory appeals from district court orders “authorizing or directing the disclosure of any

  trade secret,” to hear the government’s interlocutory appeal from a district court’s order granting

  the defendants’ motion for pre-trial depositions of expert witnesses that the government intended

  to call at trial, where the government conceded that it had already disclosed all alleged trade

  secret materials, and the depositions were sought merely to clarify exactly which of the disclosed

  materials the government contended were protected trade secrets; in other words, the district

  court order did not mandate disclosure of any trade secret materials that had not already been

  disclosed, and therefore the interlocutory appeal provision did not apply. Fei Ye, 436 F.3d at

  1120-21.

         The most substantive discussion concerning the parameters of § 1835, albeit also within

  the context of restrictions on pretrial discovery, comes from three decisions in the Hsu

  prosecution in the Eastern District of Pennsylvania. The Hsu prosecution involved allegations of

  attempted theft and conspiracy to steal trade secrets concerning chemotherapy medication.

  United States v. Hsu, 155 F.3d 189, 197 (3d Cir. 1998). The Third Circuit’s opinion in Hsu was



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Case 3:08-cr-00175-TWP-CCS Document 102 Filed 02/05/10 Page 5 of 10 PageID #: 607
  the result of an interlocutory appeal by the government pursuant to § 1835 from the district

  court’s decision to reject the government’s proposed restrictions on discovery, which allowed for

  redacted portions of discovery to be provided to the defense, and instead adopt the defense’s

  proposed restrictions that allowed for the alleged trade secret materials to be provided to the

  defense but with certain nondisclosure requirements. Id. at 197-98; see also United States v.

  Hsu, 982 F.Supp. 1022 (E.D. Pa. 1997). The Third Circuit disagreed with the district court and

  found that since the defendants were charged with just conspiracy and attempt, as opposed to

  actual theft of trade secrets, the defendants were not entitled to pretrial discovery of the alleged

  trade secret materials. United States v. Hsu, 155 F.3d 189, 197-99 (3d Cir. 1998).

         However, the Third Circuit also found that “[t]his section [1835] does not, of course,

  abrogate existing constitutional and statutory protections for criminal defendants.” Id. at 197.

  “It should be noted at the outset that the confidentiality provision of the EEA does not exist in a

  vacuum. As the EEA provides in § 1835, confidentiality must coexist with or be tempered by

  other principles of the law, including a defendant’s constitutional rights and the Federal Rules of

  Criminal Procedure.” Id. at 198. Therefore, the Third Circuit remanded the matter back to the

  district court to determine whether the government’s redaction of discovery materials only

  included those items that actually required protection. Id. at 205-06. Notably, since the issue in

  Hsu involved whether the discovery redactions by the government were actually trade secrets

  that required protection, the Third Circuit indicated that in camera review of the materials by the

  district court would be unavoidable. However, the Third Circuit stated that “[w]e leave to the

  district court the ultimate resolution of these issues if raised on remand by the defendants.” Id. at

  206.




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Case 3:08-cr-00175-TWP-CCS Document 102 Filed 02/05/10 Page 6 of 10 PageID #: 608
         On remand, the district court in Hsu held an evidentiary hearing and even engaged its

  own expert to review the alleged trade secret materials, consult with the court, and issue a report

  concerning the expert’s opinion on whether the redactions by the government met the statutory

  definition of a trade secret in 18 U.S.C. § 1839(3). United States v. Hsu, 185 F.R.D. 192, 195-97

  (E.D. Pa. 1999). The court’s expert determined that some of the government’s redactions

  constituted trade secret material under the statutory definition in the Economic Espionage Act

  and some did not. Id. at 200-01. As a result, the district court ordered some of the previously

  redacted pages of discovery to be provided to the defense. Id. at 201.

         A few differences between this case and the Hsu prosecution are worth mentioning.

  First, the defendants in Hsu were not charged with completed theft of trade secrets, and as a

  result they were not provided, in discovery, with any materials that the district court determined

  to meet the statutory definition of a trade secret in 18 U.S.C. § 1839(3). Conversely, Mr. Roberts

  and Mr. Howley have been charged with attempt, conspiracy, and completed theft of trade

  secrets, and the protective order in place concerning discovery materials allows for the actual

  production of the alleged trade secret materials to the defense with restrictions on further

  disclosure outside of the offices of defense counsel. Therefore, while in camera review and an

  evidentiary hearing were determined to be necessary on remand to the district court in Hsu, in

  camera review is not necessary here since the defendants have already been provided with the

  information the government alleges to be a trade secret. Rather, it is necessary, as in Hsu, for the

  government to establish that the material in question actually meets the statutory definition of a

  trade secret before any determination can be made that certain protective measures, if any, are

  necessary and what measures would be consistent with the constitutional provisions applicable to

  criminal jury trials and the Federal Rules of Criminal Procedure. Second, unlike Hsu but similar



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Case 3:08-cr-00175-TWP-CCS Document 102 Filed 02/05/10 Page 7 of 10 PageID #: 609
  to Fei Ye, since the government has already disclosed to the defendants the alleged trade secret,

  the interlocutory appeal provisions of § 1835, even if the government’s motion had been timely,

  are inapplicable.

          Accordingly, prior to any determination about what, if any, protective measures may be

  employed on restricting certain aspects of trial, the government has the burden of establishing at

  an evidentiary hearing prior to trial that the material it seeks to protect meets the statutory

  definition of a trade secret under 18 U.S.C. § 1839(3).

  III.    THE GOVERNMENT’S PROPOSED RESTRICTIONS ON THE CONDUCT OF
          THE TRIAL WOULD VIOLATE MR. ROBERTS’ AND THE PUBLIC’S RIGHTS
          TO A PUBLIC TRIAL, MR. ROBERTS’ RIGHT TO DUE PROCESS, A FAIR
          TRIAL, EFFECTIVELY CONFRONT THE EVIDENCE AGAINST HIM, AND
          MAKE HIS DEFENSE UNDER U.S. CONST. AMEND. V AND VI.

          Only if the government is able to prove at an evidentiary hearing prior to trial that the

  material it seeks to protect meets the statutory definition of a trade secret in 18 U.S.C. § 1839(3),

  then can a determination be made as to what, if any, protective measures are appropriate. The

  restrictions asked for by the government are completely inconsistent with the constitutional

  provisions concerning criminal jury trials, the Federal Rules of Criminal Procedure, and other

  relevant authorities. Furthermore, the restrictions asked for by the government on the

  presentation of evidence would unfairly suggest to the jury that, in fact, the materials at issue in

  this case are somehow confidential, proprietary, or secret, which is the very question for the

  jury’s determination at trial.

           28 U.S.C. § 2072(b), which governs the rules of procedure and evidence in federal

  courts, provides that “[s]uch rules shall not abridge, enlarge or modify any substantive right.”

  Fed. R. Crim. P. 26 maintains that “[i]n every trial the testimony of witnesses must be taken in

  open court[.]” With respect to the relevant constitutional provisions at issue in a criminal jury



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Case 3:08-cr-00175-TWP-CCS Document 102 Filed 02/05/10 Page 8 of 10 PageID #: 610
  trial implicated by the government’s proposed protective order, U.S. Const. amend. V requires

  due process before the abridgment of a liberty or property interest, which has been interpreted to

  include the right to a fair trial as well as that the government must prove all elements of the

  charged offenses beyond a reasonable doubt, and U.S. Const. amend. VI mandates a speedy and

  public trial, an impartial jury, and to confrontation of witnesses. U.S. Const. Art. III § 2, cl. 3

  also requires criminal trials by jury. The Supreme Court has repeatedly struck down any

  abridgment of these fundamental rights. See, e.g., Holmes v. South Carolina, 547 U.S. 319

  (2006) (holding that due process right to challenge prosecution’s allegations at trial dictated

  admissibility of third party evidence of guilt even though state evidence rule precluded

  admissibility); Chambers v. Mississippi, 410 U.S. 284 (1983) (same); Crawford v. Washington,

  541 U.S. 36 (2004) (holding that confrontation clause in U.S. Const. amend. VI requires

  testimony and cross-examination of witness who makes out of court testimonial statement,

  irrespective of whether reliable hearsay exception would apply under rules of evidence); In re

  Winship, 397 U.S. 358 (1970) (holding due process requires that the prosecution in criminal case

  has the burden of proving, beyond a reasonable doubt, all elements of offense before a

  conviction may occur); Waller v. Georgia, 467 U.S. 39, 46 (1984) (finding that the Sixth

  Amendment right to a public trial extends beyond the actual proof at trial and ruling that even

  pretrial suppression hearings must be open to the public because “there can be little doubt that

  the explicit Sixth Amendment right of the accused is no less protective of a public trial than the

  implicit First Amendment right of the press and public.”).

         For all of these reasons, Mr. Roberts asks this Court to deny the government’s motion.




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Case 3:08-cr-00175-TWP-CCS Document 102 Filed 02/05/10 Page 9 of 10 PageID #: 611
          Respectfully submitted this 5th day of February, 2010.



                                                  s/ W. Thomas Dillard
                                                  W. THOMAS DILLARD
                                                  [BPR # 002020]

                                                  s/ Stephen Ross Johnson
                                                  STEPHEN ROSS JOHNSON
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                                    CERTIFICATE OF SERVICE

           I hereby certify that on February 5, 2010, a copy of the foregoing was filed electronically.
   Notice of this filing will be sent by operation of the Court’s electronic filing system to all parties
   indicated on the electronic receipt. All other parties will be served by regular U.S. mail. Parties
   may access this filing through the Court’s electronic filing system.


                                          s/ Stephen Ross Johnson




   	                                              -10-

Case 3:08-cr-00175-TWP-CCS Document 102 Filed 02/05/10 Page 10 of 10 PageID #: 612
